Case 0:17-cv-60533-JEM Document 111 Entered on FLSD Docket 07/31/2018 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 1:17-cv-60533-JEM


  RODNEY SCOTT PATTERSON,

               Plaintiff,

  vs.

  AMERICAN AIRLINES, INC.,
  a Delaware corporation,

            Defendants.
  _____________________________/

                             NOTICE TO REMOVE FROM E-FILING

         Nonparty, GLENN WHITEHOUSE, by and through undersigned counsel, hereby

  files this Notice to Remove from E-filing as he not a party to the matter and no longer

  has an outstanding issue that needs court intervention in this matter.

                                 CERTIFICATE OF SERVICE

          I hereby certify that on July 31, 2018, I electronically filed the foregoing document
  with the clerk of the Court using CM/ECF. I also certify that the foregoing document is
  being served this day on all counsel of record or pro se parties identified on the
  attached Service List in the manner specified, either via transmission of Notices of
  Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive electronically Notices of Electronic
  Filing.

                                      s/Lindsey Wagner
                                      Lindsey Wagner, Esq.
                                      Florida Bar No. 86831
                                      Primary e-mail: LWagner@scottwagnerlaw.com
                                      Secondary e-mail: mail@scottwagnerlaw.com
                                      SCOTT WAGNER & ASSOCIATES, P.A.
                                      Jupiter Gardens
                                      250 South Central Boulevard
                                      Suite 104-A
                                      Jupiter, FL 33458
                                  Scott Wagner & Associates, P.A.
                                   Notice to Remove from E-Filing
                                             Page 1 of 3
Case 0:17-cv-60533-JEM Document 111 Entered on FLSD Docket 07/31/2018 Page 2 of 3



                                   Telephone: (561) 653-0008
                                   Facsimile:  (561) 653-0020
                                   Secondary Address: 101 Northpoint Parkway
                                   West Palm Beach, FL 33407
                                   www.ScottWagnerLaw.com

                                   SERVICE LIST
                             CASE NO: 1:17-cv-60533-JEM


  Karen Coolman Amlong, Esq.
  Amlong & Amlong, PA
  500 NE 4th Street
  2nd Floor
  Fort Lauderdale, FL 33301-1154
  Attorneys for Rodney Scott Patterson
   [Via Electronic Filing generated by CM/ECF]

  William Robert Amlong, Esq.
  Amlong & Amlong
  500 NE 4th Street
  2nd Floor
  Fort Lauderdale, FL 33301-1154
  Attorneys for Rodney Scott Patterson
  [Via Electronic Filing generated by CM/ECF]

  Isha Kochhar, Esq.
  151 SW 91st Avenue #305
  Plantation, FL 33324
  Attorneys for Rodney Scott Patterson
  [Via Electronic Filing generated by CM/ECF]

  Mark W. Robertson, Esq.
  O'Melveny & Myers, L LP
  Times Square Tower
  7 Times Square
  New York, NY 10036
  Attorneys for American Airlines
  [Via Electronic Filing generated by CM/ECF]

  Tristan Morales, Esq.
  O’Melveny & Myers, LLP
  1625 Eye Street Northwest
  Washington, DC 20006
  Attorneys for American Airlines
  [Via Electronic Filing generated by CM/ECF]
                               Scott Wagner & Associates, P.A.
                                Notice to Remove from E-Filing
                                          Page 2 of 3
Case 0:17-cv-60533-JEM Document 111 Entered on FLSD Docket 07/31/2018 Page 3 of 3




  Michael Aaron Holt, Esq.
  Shook, Hardy & Bacon, LLP
  201 South Biscayne Boulevard
  Suite 3200
  Miami, FL 3 3131
  Attorneys for American Airlines
  [Via Electronic Filing generated by CM/ECF]




                               Scott Wagner & Associates, P.A.
                                Notice to Remove from E-Filing
                                          Page 3 of 3
